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 1   1.    INTRODUCTION
 2         1.1     PURPOSES AND LIMITATIONS
 3         Discovery in this Action is likely to involve production of confidential,
 4   proprietary, or private information for which special protection from public disclosure
 5   and from use for any purpose other than in connection with this Action may be
 6   warranted. Accordingly, the Parties hereby stipulate to and petition the Court to enter
 7   the following Stipulated Protective Order. The Parties acknowledge that this Order does
 8   not confer blanket protections on all disclosures or responses to discovery and that the
 9   protection it affords from public and use extends only to the limited information or items
10   that are entitled to confidential treatment under the applicable legal principles. The
11   Parties further acknowledge this Order does not entitle them to file confidential
12   information under seal. Local Civil Rule 79-5 sets forth the procedures that must be
13   followed and the standards that will be applied when a Party seeks permission from the
14   Court to file material under seal.
15         1.2     GOOD CAUSE STATEMENT
16         This Action is likely to involve sensitive patent, trade secret, customer, product
17   development, and pricing information, and other valuable research, development,
18   commercial, financial, technical, and/or proprietary information within the meaning of
19   Rule 26(c) of the Federal Rules of Civil Procedure, which must be protected in order to
20   preserve legitimate business interests. Such proprietary materials and information,
21   whether     designated   “CONFIDENTIAL”          or   “HIGHLY      CONFIDENTIAL           –
22   ATTORNEYS’ EYES ONLY,” under this Order, consists of, among other things,
23   business or financial information, information regarding business practices, or other
24   research, development, or commercial information, information otherwise generally
25   unavailable to the public, or that may be privileged or otherwise protected from
26   disclosure under state or federal statutes, court rules, case decisions, or common law.
27         The Parties to this Action were or are competitors, and it is important the Parties
28   are able to produce highly sensitive information on an outside counsel eyes’ only basis


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 1   in additional to being to produce confidential information, which may be appropriate for
 2   access by In-House Counsel to facilitate In-House Counsel’s ability to oversee the
 3   developments of this Action. The Parties believe a two-tier protective order balances
 4   these competing interests, while protecting the Parties’ confidential and sensitive
 5   information that is expected to be produced in this Action.
 6         Accordingly, to expedite the flow of information, to facilitate the prompt
 7   resolution of disputes over confidentiality of discovery materials, to adequately protect
 8   information the Parties are entitled to keep confidential, to ensure the Parties are
 9   permitted reasonable necessary uses of such material in preparation for and in the
10   conduct of trial, to address their handling at the end of the litigation, and to serve the
11   ends of justice, a protective order for such information is justified in this Action. It is the
12   intent of the Parties that information will not be designated as “CONFIDENTIAL” or
13   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” for tactical reasons and
14   that nothing will be so designated without a good faith belief it has been maintained in
15   a confidential, non-public manner, and there is good cause why it should not be part of
16   the public record of this Action.
17   2.    DEFINITIONS
18         2.1    Action: Modoral Brands Inc., v. Swedish Match North America LLC et al.,
19   2:21-cv-05013-SB-MRWx (C.D. Cal.).
20         2.2    Challenging Party: a Party or Non-Party that challenges the designation of
21   information or items under this Order.
22         2.3    “CONFIDENTIAL” Information or Items: any information, document, or
23   thing, or portion of any document or thing, that such Party in good faith believes:
24   (a) contains proprietary business information or technical information or other
25   confidential research, development, or commercial information within the meaning of
26   Federal Rule of Civil Procedure 26(c), (b) contains information received in confidence
27   from Third Parties that contains proprietary business information or technical
28   information relating to trade secrets or other confidential research, development, or


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 1   commercial information of such Third Parties within the meaning of Federal Rule of
 2   Civil Procedure 26(c), or (c) is entitled to protection under Federal Rule of Civil
 3   Procedure 26(c)(1)(G).
 4         2.4    Counsel (without qualifier): Outside Counsel of Record (as well as their
 5   support staff) and In-House Counsel.
 6         2.5    Designating Party: a Party or Non-Party that designates information or
 7   items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL”
 8   or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
 9         2.6    Disclosure or Discovery Material: all items or information, regardless of
10   the medium or manner in which it is generated, stored, or maintained (including, among
11   other things, testimony, transcripts, and tangible things), that are produced or generated
12   in disclosures or responses to discovery in this Action.
13         2.7    Expert: a person with specialized knowledge or experience in a matter
14   pertinent to this Action who (1) has been retained by a Party or its Counsel to serve as
15   an expert witness or as a consultant in this Action, (2) is not a past or current employee
16   of a Party, and (3) at the time of retention, is not anticipated to become an employee of
17   a Party or a Party’s competitor.
18         2.8    “HIGHLY       CONFIDENTIAL           –   ATTORNEYS’         EYES     ONLY”
19   Information or Items: material that contains competitive business or financial
20   information, the disclosure of which is highly likely to cause significant harm to an
21   individual or to the business or competitive position of the Designating Party. HIGHLY
22   CONFIDENTIAL – ATTORNEYS’ EYES ONLY information and items may include,
23   but are not limited to, sensitive research materials, development and strategic plans,
24   scientific research, customers, pricing and sales information, trade secrets, technical
25   information, technical practices, method, or other know-how, pending but unpublished
26   patent applications, pricing data, financial data, sales information, customer-confidential
27   information, agreements or relationships with Third Parties, market projections or
28   forecasts, strategic business plans, selling or marketing strategies, new product


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 1   development, testing, manufacturing costs, or information regarding employees. A two-
 2   tiered designation system is necessary in this Action because (1) the Parties contemplate
 3   allowing In-House Counsel access to certain information; (2) the information and
 4   documents exchanged in Certain Nicotine Pouches and Components Thereof and
 5   Methods of Making the Same, ITC Investigation No. 337-TA-1192 were transferred to
 6   Pinkerton Tobacco Co., LP et al., v. The Art Factory AB et al., 2:20-cv-1322-SB-MRW
 7   (C.D. Cal.) under 28 U.S.C. § 1659, which has been consolidated with the instant action
 8   for pre-trial purposes, and any material designated as confidential business information
 9   in the ITC investigation must be afforded the highest level of protection possible; and
10   (3) the Parties contemplate production of trade secret information, including, for
11   example, information pertaining to Swedish Match’s trade secrets related to the method
12   of manufacturing nicotine pouch products.
13         2.9    In-House Counsel: attorneys who are employees of a Party to this Action.
14   In-House Counsel does not include Outside Counsel of Record or any other outside
15   counsel.
16         2.10 Non-Party: any natural person, partnership, corporation, association, or
17   other legal entity not named as a Party to this Action.
18         2.11 Outside Counsel of Record: attorneys who are not employees of a Party to
19   this Action but are retained to represent or advise a Party to this Action and have
20   appeared in this Action on behalf of that Party or are affiliated with a law firm that has
21   appeared on behalf of that Party, and includes support staff.
22         2.12 Party: any party to this Action, including all of its officers, directors,
23   employees, consultants, retained experts, and Outside Counsel of Record (and their
24   support staffs).
25         2.13 Producing Party: a Party or Non-Party that produces Disclosure or
26   Discovery Material in this Action.
27         2.14 Professional Vendors: persons or entities that provide litigation support
28   services (e.g., stenographers, photocopying, videotaping, interpreting and translating,


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 1   exhibit and demonstrative preparation, and organizing, storing, or retrieving data in any
 2   form or medium) and their employees and subcontractors.
 3         2.15 Protected Material: any Disclosure or Discovery Material that is designated
 4   as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 5   ONLY.”
 6         2.16 Receiving Party: a Party that receives Disclosure or Discovery Material
 7   from a Producing Party.
 8   3.    SCOPE
 9         The protections conferred by this Stipulation and Order cover not only Protected
10   Material (as defined above), but also (1) any information copied or extracted from
11   Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
12   Material; and (3) any testimony, conversations, or presentations by Parties or their
13   Counsel that might reveal Protected Material. However, the protections conferred by this
14   Order do not cover the following information: (a) any information that is in the public
15   domain at the time of disclosure to a Receiving Party or becomes part of the public
16   domain after its disclosure to a Receiving Party as a result of publication not involving
17   a violation of this Order, including becoming a part of the public record in this Action;
18   and (b) any information known to the Receiving Party prior to the disclosure or obtained
19   by the Receiving Party after the disclosure from a source who obtained the information
20   lawfully and under no obligation of confidentiality to the Designating Party.
21         Any use of Protected Material at trial will be governed by a separate agreement or
22   order. This Order does not govern the use of Protected Material at trial.
23   4.    DURATION
24         The terms and conditions of this Order shall govern the handling of documents,
25   depositions, pleadings, exhibits, and all other information exchanged by the Parties in
26   this litigation or provided by or obtained from Non-Parties in this litigation. This Order
27   shall apply regardless of whether such information was produced prior to or after entry
28   of this Order.


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 1         Even after final disposition of this Action, the confidentiality obligations imposed
 2   by this Order will remain in effect until a Designating Party agrees otherwise in writing
 3   or a court order otherwise directs. Final disposition will be deemed to be the later of (1)
 4   dismissal of all claims and defenses in this Action, with or without prejudice; and (2)
 5   final judgment herein after the completion and exhaustion of all appeals, rehearings,
 6   remands, trials, or reviews of this Action, including the time limits for filing any motions
 7   or applications for extension of time pursuant to applicable law.
 8   5.    DESIGNATING PROTECTED MATERIAL
 9         5.1    Exercise of Restraint and Care in Designating Material for Protection.
10   The Producing Party’s designation of information as CONFIDENTIAL or HIGHLY
11   CONFIDENTIAL – ATTORNEYS’ EYES ONLY means that such Party believes in
12   good faith, upon reasonable inquiry, that the information qualifies as such. Each Party
13   or Non-Party that designates information or items for protection under this Order must
14   take care to limit any such designation to specific material that qualifies under the
15   appropriate standards. The Designating Party must designate for protection only those
16   parts of material, documents, items, or oral or written communications that qualify so
17   that other portions of the material, documents, items, or communications for which
18   protection is not warranted are not swept unjustifiably within the ambit of this Order.
19         Mass, indiscriminate, or routinized designations are prohibited. Designations that
20   are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
21   to unnecessarily encumber the case development process or to impose unnecessary
22   expenses and burdens on other Parties) may expose the Designating Party to sanctions.
23         A Party who has designated information as CONFIDENTIAL or HIGHLY
24   CONFIDENTIAL – ATTORNEYS’ EYES ONLY may withdraw the designation by
25   (a) written notification to all Parties in the above-captioned action and (b) reproducing
26   the information with the proper designation (or with no designation).
27         5.2    Manner and Timing of Designations. Except as otherwise provided in this
28   Order, or as otherwise stipulated or ordered, Disclosure or Discovery Material that


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 1   qualifies for protection under this Order must be clearly so designated before the
 2   material is disclosed or produced.
 3         Designation in conformity with this Order requires:
 4         (a)    for information in documentary form (e.g., paper or electronic documents,
 5   excluding transcripts of depositions or other pretrial or trial proceedings), that the
 6   Producing Party affix at a minimum, the legend “CONFIDENTIAL” or “HIGHLY
 7   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page that contains protected
 8   material.
 9         A Party or Non-Party that makes original documents available for inspection need
10   not designate them for protection until after the inspecting Party has indicated which
11   documents it would like copied and produced. During the inspection and before the
12   designation, all of the material made available for inspection will be deemed
13   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
14   copied and produced, the Producing Party must determine which documents, or portions
15   thereof, qualify for protection under this Order. Then, before producing the specified
16   documents, the Producing Party must affix the legend “CONFIDENTIAL” or “HIGHLY
17   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page that contains Protected
18   Material. If only a portion or portions of the material on a page qualifies for protection,
19   the Producing Party also must clearly identify the protected portion(s) (e.g., by making
20   appropriate markings in the margins).
21         (b)    for testimony given in deposition or in other pretrial or trial proceedings,
22   that the Designating Party identify on the record, before the close of the deposition,
23   hearing, or other proceeding, all protected testimony and specify the level of protection
24   being asserted. When it is impractical to identify separately each portion of testimony
25   that is entitled to protection and it appears that substantial portions of the testimony may
26   qualify for protection, the Designating Party may invoke on the record a right to have up
27   to 30 calendar days to identify the specific portions of the testimony as to which
28   protection is sought and to specify the level of protection being asserted. Only those


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 1   portions of the testimony that are appropriately designated for protection within 30
 2   calendar days shall be covered by the provisions of this Order. Alternatively, a
 3   Designating Party may specify, at the deposition or up to 30 calendar days afterwards if
 4   that period is properly invoked, that the entire transcript shall be treated as
 5   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
 6         The use of a document as an exhibit at a deposition shall not in any way affect its
 7   designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
 8   EYES ONLY.”
 9         Transcripts containing Protected Material shall have an obvious legend on the title
10   page that the transcript contains Protected Material, and the title page shall be followed
11   by a list of all pages (including line numbers as appropriate) that have been designated
12   as Protected Material and the level of protection being asserted by the Designating Party.
13   The Designating Party shall inform the court reporter of these requirements. Any
14   transcript that is prepared before the expiration of a 30-day period for designation shall
15   be treated during that period as if it has been designated “HIGHLY CONFIDENTIAL –
16   ATTORNEYS’ EYES ONLY” in its entirety unless otherwise agreed. After expiration
17   of that period, the transcript will be treated only as actually designated.
18         (c)    for information produced in some form other than documentary and for any
19   other tangible items, that the Producing Party affix in a prominent place on the exterior
20   of the container or containers in which the information is stored the legend
21   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
22   If only a portion or portions of the information warrants protection, the Producing Party,
23   to the extent practicable, will identify the protected portion(s) and specify the level of
24   protection being asserted.
25         (d)    information and documents exchanged in Certain Nicotine Pouches and
26   Components Thereof and Methods of Making the Same, ITC Investigation No. 337-TA-
27   1192, that were designated “Confidential Business Information - Subject to Protective
28   Order” and transferred to the Pinkerton Tobacco Co., LP et al., v. The Art Factory AB et


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 1   al., 2:20-cv-1322-SB-MRW (C.D. Cal.) proceeding under 28 U.S.C. § 1659 shall be
 2   treated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
 3         (e)    in the case of interrogatory answers and the information contained therein,
 4   designation shall be made by marking the first page and all subsequent pages containing
 5   CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
 6   information with the appropriate legend.
 7         5.3    Inadvertent Failures to Designate. A Producing Party’s failure to designate
 8   a document, thing, or testimony as CONFIDENTIAL or HIGHLY CONFIDENTIAL –
 9   ATTORNEYS’ EYES ONLY does not constitute forfeiture of a claim of confidentiality
10   as to that material or any other document, thing, or testimony. The Producing Party may
11   subsequently inform the Receiving Party of the CONFIDENTIAL or HIGHLY
12   CONFIDENTIAL – ATTORNEYS’ EYES ONLY nature of the disclosed information,
13   and the Receiving Party shall treat the disclosed information as CONFIDENTIAL or
14   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY upon receipt of written
15   notice from the Producing Party. The Receiving Party shall not be held liable to the
16   Producing Party for having previously disclosed such re-designated information, but
17   shall undertake reasonable efforts to ensure that the material is treated in accordance
18   with the provisions of this Order.
19   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
20         6.1    Timing of Challenges. Nothing in this Order shall prevent a Receiving Party
21   from contending that any or all documents or information designated as
22   CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY have
23   been improperly designated. A Receiving Party may at any time request that the
24   Producing Party cancel or modify the confidentiality designation with respect to any
25   document or information contained therein.
26         A Party shall not be obligated to challenge the propriety of any CONFIDENTIAL
27   or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY designation at the time
28   made, and a failure to do so shall not preclude a subsequent challenge thereto. The Parties


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 1   shall use their best efforts to promptly and informally resolve such disputes. If agreement
 2   cannot be reached, the Receiving Party may request that the Court revoke or modify the
 3   CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
 4   designation. The Party or Parties producing the designated documents shall have the
 5   burden of establishing that the disputed documents are entitled to the designated
 6   treatment. Until such a dispute is resolved, either by the Parties or by direction of the
 7   Court, the Receiving Party shall continue to treat the information at issue consistent with
 8   its current confidentiality designation under this Order. A Party’s failure to contest a
 9   designation of information as CONFIDENTIAL or HIGHLY CONFIDENTIAL –
10   ATTORNEYS’ EYES ONLY is not an admission that the information was properly
11   designated as such.
12         6.2    Meet and Confer. The Challenging Party will initiate the dispute resolution
13   process (and, if necessary, file a discovery motion) under Local Rule 37-1 et seq. by
14   providing written notice of each designation it is challenging and describing the basis
15   for each challenge. To avoid ambiguity as to whether a challenge has been made, the
16   written notice must recite that the challenge to confidentiality is being made in
17   accordance with this specific paragraph of the Order. The Parties shall attempt to resolve
18   each challenge in good faith and must begin the process by confirming directly (in voice
19   to voice dialogue; other forms of communication are not sufficient) within 14 calendar
20   days of the date of service of notice. In conferring, the Challenging Party must explain
21   the basis for its belief that the confidentiality designation was not proper and must give
22   the Designating Party an opportunity to review the designated material, to reconsider the
23   circumstances, and, if no change in designation is offered, to explain the basis for the
24   chosen designation. A Challenging Party may proceed to the next stage of the challenge
25   process only if it has engaged in this meet and confer process first or establishes the
26   Designating Party is unwilling to participate in the meet and confer process in a timely
27   manner.
28         6.3    Judicial Intervention. If the Parties cannot resolve a challenge without court


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 1   intervention after conducting a meet-and-confer in compliance with Local Rule 37-1, the
 2   Parties must submit a joint stipulation setting forth the issues, as required by Local Rule
 3   37-2, within 21 calendar days of the initial notice of challenge or within 14 calendar days
 4   of the Parties agreeing that the meet-and-confer process will not resolve their dispute,
 5   whichever is earlier. Under Local Rule 37-2, each written stipulation must be filed and
 6   served with the notice of the motion.
 7         The burden of persuasion in any such challenge proceeding will be on the
 8   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.
 9   to harass or impose unnecessary expenses and burdens on other Parties) may expose the
10   Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
11   the confidentiality designation, all Parties will continue to afford the material in question
12   the level of protection to which it is entitled under the Producing Party’s designation
13   until the Court rules on the challenge.
14   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
15         7.1    Basic Principles. A Receiving Party may use Protected Material that is
16   disclosed or produced by another Party or by a Non-Party in connection with this Action
17   only for prosecuting, defending, or attempting to settle this Action. Specifically, all
18   Protected Material shall be used solely for this case or any related appellate proceeding,
19   and not for any other purpose whatsoever, including, for example, but not limited to (a)
20   any business, proprietary, or commercial purpose, (b) any governmental or other legal
21   purpose, including in connection with any other litigation, proceeding, arbitration, or
22   claim, absent the consent of the Producing Party or a court order, (c) use in connection
23   with the prosecution of patent applications, including in connection with the prosecution
24   of patent applications relating to the subject matter of this Action, (d) use in connection
25   with any communications with the U.S. Food and Drug Administration, and/or (e) use
26   in connection with any formulation, scientific research, development, or manufacturing
27   activities concerning the subject matter of this Action.
28         Notwithstanding the foregoing, the Receiving Party’s Outside Counsel that is


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 1   permitted to receive and does receive CONFIDENTIAL or HIGHLY CONFIDENTIAL
 2   – ATTORNEYS’ EYES ONLY information may be involved in domestic or foreign
 3   post-grant patent prosecution (e.g., inter partes review, reexamination, nullity
 4   proceedings, etc.)
 5         Protected Material may be disclosed only to the categories of persons and under
 6   the conditions described in this Order. When the Action has been terminated, a
 7   Receiving Party must comply with the provisions of Section 13, below. It is, however,
 8   understood that Counsel for a Party may give advice and opinions to his or her client
 9   solely relating to the above-captioned action and any appeal therefrom based on his or
10   her   evaluation     of   “CONFIDENTIAL”          or   “HIGHLY     CONFIDENTIAL          –
11   ATTORNEYS’ EYES ONLY” material, provided such advice and opinions shall not
12   reveal the content of such Protected Material, except by prior written agreement of
13   Counsel for the Parties or by Order of the Court. Nothing in this Discovery
14   Confidentiality Order precludes a Producing Party from using or disseminating its own
15   Protected Material.
16         Protected Material must be stored and maintained by a Receiving Party at a
17   location and in a secure manner that ensures that access is limited to the persons
18   authorized under this Order.
19         Nothing in this Order shall prevent a Party or Third Party from redacting from
20   documents or things, which otherwise contain relevant, discoverable information, any
21   CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
22   information that is irrelevant to this litigation or otherwise not discoverable pursuant to
23   FEDERAL RULE OF CIVIL PROCEDURE 26(b). Further, nothing in this Order shall
24   prevent a Party or Third Party from redacting from documents or things any information
25   that is protected under The Health Insurance Portability and Accountability Act of 1996
26   (HIPAA).
27         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
28   ordered by the Court or permitted in writing by the Designating Party, a Receiving Party


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 1   may disclose any information or item designated “CONFIDENTIAL” only to:
 2         (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well as
 3   support staff of said Outside Counsel of Record to whom it is reasonably necessary to
 4   disclose the information for this Action;
 5         (b)    Experts (as defined in this Order) of the Receiving Party, as well as the
 6   Expert’s staff, (1) to whom it is reasonably necessary to disclose the information for this
 7   Action, (2) who have signed the “Acknowledgment and Agreement to Be Bound”
 8   (Exhibit A), and (3) to whom the procedure set forth in Section 7.4(a), below, have been
 9   followed;
10         (c)    the Court and its personnel;
11         (d)    court reporters and their staff;
12         (e)    professional jury or trial consultants, mock jurors, and Professional
13   Vendors to whom disclosure is reasonably necessary for this Action and who have
14   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), but no
15   CONFIDENTIAL OR HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
16   information shall be permitted to remain in the possession of any mock juror;
17         (f)    the author or recipient of a document containing the information or a
18   custodian or other person who otherwise possessed or knew the information.
19         (g)    any deponent, during the course of preparing for a deposition or
20   testimony, or during the course of a deposition or testimony, may be shown or
21   examined on any information, document, or thing designated “CONFIDENTIAL” if it
22   appears the witness authored or received a copy of it in the ordinary course of business,
23   was involved in the subject matter described therein or is employed by the Producing
24   Party, or if the Producing Party consents to such disclosure. A deponent who is an
25   officer, director, employee, or witness designated pursuant to Federal Rule of Civil
26   Procedure 30(b)(6) of a Producing Party may be shown “CONFIDENTIAL” material
27   of the Producing Party of which he or she is an officer, director, employee, or witness
28   designated pursuant to Federal Rule of Civil Procedure 30(b)(6); and


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 1            (h)   any mediator or settlement officer, and their supporting personnel,
 2   mutually agreed upon by any of the Parties engaged in settlement discussions and
 3   who has signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A).
 4            (i)   any other person with the prior written consent of the Producing Party.
 5            (j)   up to two designated In-House Counsel of the Receiving Party who either
 6   have responsibility for making decisions dealing directly with the litigation of this
 7   Action, or who are assisting outside counsel in the litigation of this Action, and to whom
 8   the procedures set forth in Section 7.4(b), below, have been followed.       Confidential
 9   information may be disclosed to In-House Counsel for the sole purpose of assisting in
10   this Action.
11            It is expressly understood between the Parties that the number of such persons
12   may be increased by unanimous, written agreement of the Parties to this Action without
13   leave of the Court, or upon a showing, subject to the approval of the Court, by either
14   Party that such modification is necessary. It is further agreed that a Party may make a
15   substitution for any such persons upon a showing of good cause, and any other Party
16   shall have five (5) business days to object. No Party shall be allowed to use the right of
17   substitution to circumvent the limits on the number of In-House Counsel allowed to
18   receive CONFIDENTIAL information. The burden of proof shall rest on the objecting
19   Party.
20            7.3   Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
21   ONLY” Information or Items. Unless otherwise ordered by the Court or permitted in
22   writing by the Designating Party, a Receiving Party may disclose any information or
23   item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:
24            (a)   the Receiving Party’s Outside Counsel of Record in this Action, as well as
25   support staff of said Outside Counsel of Record to whom it is reasonably necessary to
26   disclose the information for this Action;
27            (b)   Experts (as defined in this Order) of the Receiving Party (1) to whom
28   disclosure is reasonably necessary for this Action, (2) who are not employed by,


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 1   consultants to, or otherwise affiliated with a Party (except solely as experts (consulting
 2   or testifying) in connection with this, or other, litigation), (3) who have signed the
 3   “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (4) to whom the
 4   procedure set forth in Section 7.4(a), below, have been followed;
 5         (c)    the Court and its personnel;
 6         (d)    court reporters and their staff;
 7         (e)    professional jury or trial consultants, mock jurors, and Professional
 8   Vendors to whom disclosure is reasonably necessary for this Action and who have
 9   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), but no
10   CONFIDENTIAL OR HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
11   information shall be permitted to remain in the possession of any mock juror;
12         (f)    the author or recipient of a document containing the information or a
13   custodian or other person who otherwise possess or knew the information;
14         (g)    any deponent, during the course of preparing for a deposition or testimony,
15   or during the course of a deposition or testimony, may be shown or examined on any
16   information, document, or thing designated “HIGHLY CONFIDENTIAL –
17   ATTORNEYS’ EYES ONLY” if it appears the witness authored or received a copy of
18   it in the ordinary course of business, was involved in the subject matter described therein
19   or is employed by the Producing Party, or if the Producing Party consents to such
20   disclosure. A deponent who is an officer, director, employee, or witness designated
21   pursuant to Federal Rule of Civil Procedure 30(b)(6) of a Producing Party may be shown
22   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” material of the
23   Producing Party of which he or she is an officer, director, employee, or witness
24   designated pursuant to Federal Rule of Civil Procedure 30(b)(6);
25         (h)    any mediator or settlement officer, and their supporting personnel,
26   mutually agreed upon by any of the Parties engaged in settlement discussions and
27   who has signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
28        (i)     any other person with the prior written consent of the Producing Party.


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 1         7.4    Procedures     for    Approving      or    Objecting   to    Disclosure    of
 2   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 3   Information or Items to Experts or In-House Counsel.
 4         (a)    Unless otherwise ordered by the Court or otherwise agreed to in writing by
 5   the Designating Party, a Party that seeks to disclose to an Expert information that has
 6   been designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
 7   EYES ONLY” must first make a written request to the Designating Party that (1) sets
 8   forth the full name of the Expert, (2) attaches a copy of the Expert’s current resume, (3)
 9   identifies the Expert’s current employer(s), (4) identifies (by name and location of court)
10   any litigation in connection with which the Expert has offered testimony, including
11   through a declaration, report, or testimony at a deposition or trial, during the preceding
12   four years, including identification of the parties represented in each case, and (5) any
13   previous or current relationship with any of the parties (excluding confidential non-
14   testifying litigation consulting, the existence of which is protected by attorney work
15   product immunity);
16         (b)    Unless otherwise ordered by the Court or otherwise agreed to in writing by
17   the Designating Party, a Party that seeks to disclose to an In-House Counsel information
18   that has been designated “CONFIDENTIAL” must first make a written request to the
19   Designating Party that (1) sets forth the full name of the In-House Counsel, (2) identifies
20   the In-House Counsel’s job title and provides a general description of the In-House
21   Counsel’s duties, (3) provides a list of the In-House Counsel’s employers for the last ten
22   (10) years, and (4) attaches a copy of the signed “Acknowledgment and Agreement to
23   Be Bound” (Exhibit A);
24         (c)    A Party that makes a request and provides the information specified in
25   Section 7.4(a) and/or 7.4(b) may disclose the Protected Material to the identified Expert
26   or In-House Counsel unless, within five (5) business days of delivering the request, the
27   Party receives a written objection from the Designating Party. Any such objection must
28   set forth in detail the grounds on which it is based.


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 1         (d)    A Party that receives a timely written objection shall respond in writing to
 2   such objection within ten (5) business days, and shall state with particularity the grounds
 3   for designating the individual. If no timely written response is made to the objection, the
 4   challenged designation will be deemed to be void. If the Designating Party or Third Party
 5   makes a timely response to such objection, Counsel shall meet and confer with the
 6   Designating Party (through direct voice to voice dialogue) to try to resolve the matter by
 7   agreement within seven calendar days of the written objection. If no agreement is
 8   reached, the Party seeking to make the disclosure to the Expert or In-House Counsel may
 9   file a motion as provided by Local Rule 7 seeking permission from the Court to do so.
10   Protected Material may not be disclosed to the Expert or In-House Counsel until the
11   dispute is resolved.
12         In any such proceeding, the Party opposing the disclosure shall bear the burden of
13   proving the risk of harm that the disclosure would entail outweighs the Receiving Party’s
14   need to disclose the Protected Material to its Expert or In-House Counsel.
15   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
16   OTHER LITIGATION
17         If a Party is served with a subpoena or a court order issued in other litigation that
18   compels disclosure of any information or items designated in this Action as
19   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”
20   that Party must:
21         (a)    promptly notify in writing the Designating Party. Such notification will
22   include a copy of the subpoena or court order;
23         (b)    promptly notify in writing the entity who caused the subpoena or order to
24   issue in the other litigation that some or all of the material covered by the subpoena or
25   order is subject to this Protective Order. Such notification will include a copy of this
26   Stipulated Protective Order; and
27         (c)    cooperate with respect to all reasonable procedures sought to be pursued by
28   the Designating Party whose Protected Material may be affected.


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 1         If the Designating Party seeks a protective order within 30 business days of
 2   receiving written notice, the Party served with the subpoena or court order will not
 3   produce any information designated in this Action as “CONFIDENTIAL” or “HIGHLY
 4   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a determination by the court
 5   from which the subpoena or order issued, unless the Party has obtained the Designating
 6   Party’s permission. The Designating Party will bear the burden and expense of seeking
 7   protection in that court of its confidential material. If the Designating Party does not
 8   move for a protective order within 30 business days of receiving written notice, the Party
 9   served with the subpoena or court order may produce the requested material.
10         Nothing in these provisions should be construed as authorizing or encouraging a
11   Receiving Party in this Action to disobey a lawful directive from another court.
12   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
13   IN THIS ACTION
14         (a)    The terms of this Order are applicable to information produced by a Non-
15   Party to this Action and designated as “CONFIDENTIAL” or “HIGHLY
16   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced by
17   Non-Parties in connection with this Action is protected by the remedies and relief
18   provided by this Order. Nothing in these provisions should be construed as prohibiting
19   a Non-Party from seeking additional protections.
20         (b)    In the event that a Party is required, by a valid discovery request, to produce
21   a Non-Party’s confidential information in its possession, and the Party is subject to an
22   agreement with the Non-Party not to produce the Non-Party’s confidential information,
23   while complying with any other Notice obligations that may apply, then the Party will:
24                (1)    promptly notify in writing the Requesting Party and the Non-Party
25   that some or all of the information requested is subject to a confidentiality agreement
26   with a Non-Party;
27                (2)    promptly provide the Non-Party with a copy of the Stipulated
28   Protective Order in this Action, the relevant discovery request(s), and a reasonably


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 1   specific description of the information requested; and
 2                  (3)   make the information requested available for inspection by the Non-
 3   Party.
 4            (c)   If the Non-Party fails to object or seek a protective order from this Court
 5   within 14 business days of receiving the notice and accompanying information, the
 6   Receiving Party may produce the Non-Party’s confidential information responsive to the
 7   discovery request. If the Non-Party timely seeks a protective order, the Receiving Party
 8   will not produce any information in its possession or control that is subject to the
 9   confidentiality agreement with the Non-Party before a determination by the Court.
10   Absent a court order to the contrary, the Non-Party will bear the burden and expense of
11   seeking protection in this Court of its Protected Material.
12   10.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
13            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
14   Protected Material to any person or in any circumstance not authorized under this
15   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
16   the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
17   all unauthorized copies of the Protected Material and ensure that no further or greater
18   unauthorized disclosure and/or use thereof occurs, (c) inform the person or persons to
19   whom unauthorized disclosures were made of all of the terms of this Order, and (d)
20   request such person(s) to execute the “Acknowledgment and Agreement to Be Bound”
21   that is attached hereto as Exhibit A.
22   11.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
23   PROTECTED MATERIAL
24            To the extent consistent with applicable law, the inadvertent or unintentional
25   disclosure of Protected Material that should have been designated as such, regardless of
26   whether the material was so designated at the time of disclosure, shall not be deemed a
27   waiver in whole or in part of a Party’s claim of confidentiality, either as to the specific
28   material or as to any other material or information concerning the same or related subject


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 1   matter. Such inadvertent or unintentional disclosure may be rectified by notifying in
 2   writing Counsel for all Parties to whom the material was disclosed that the material
 3   should have been designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 4   ATTORNEYS’ EYES ONLY” within a reasonable time after disclosure. Such notice
 5   shall constitute a designation of the information, document, or thing as
 6   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 7   under this Order.
 8         The inadvertent production of documents subject to attorney-client privilege or
 9   work product immunity will not waive attorney-client privilege or work product
10   immunity. In addition, the fact a document was inadvertently produced shall not be used
11   in any manner as evidence in support of any such alleged waiver of attorney-client
12   privilege or work product immunity.
13         If a Party has inadvertently produced a document it believes in good-faith is
14   subject to a claim of attorney-client privilege or work product immunity, the Producing
15   Party shall make a representation in writing that such documents may be subject to the
16   attorney-client privilege or work product doctrine. Any such claim by the Producing
17   Party shall be made with sufficient information to meet the requirements of Federal Rule
18   of Civil Procedure 26(b)(5)(A), including the information subject to the claim, the
19   author, date, address of recipient of the document (if applicable), the claim of privilege
20   or protection being asserted, and the basis for that claim of privilege or protection. If a
21   Party has inadvertently produced a document subject to a claim of attorney-client
22   privilege or work product immunity, upon request, the document and all copies thereof
23   shall be destroyed or returned promptly, and in no event later than five calendar days
24   after a request is made by the Producing Party in accordance with Rule 26(b)(5)(B).
25   Moreover, any notes or summaries, other than those expressly permitted under this
26   section, referring to or relating to any such inadvertently produced document subject to
27   a claim of attorney-client privilege or work product immunity shall be destroyed.
28   Nothing herein shall prevent the Receiving Party from preparing a record for its own use


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 1   containing the date, author, address(es), and such other information as is reasonably
 2   necessary to identify the document and generally describe its nature to the Court in any
 3   motion to compel production of the document. Such a record of the identity and nature
 4   of the document may not be used for any purpose other than for preparing and supporting
 5   a motion to compel production of that document in this Action. After the return of the
 6   document(s), the Receiving Party may challenge the Producing Party’s claim(s) of
 7   attorney-client privilege or work product immunity by making a motion to the Court.
 8         Nothing in this Order shall require disclosure of material that a Party contends is
 9   protected from disclosure by attorney-client privilege, attorney work-product immunity,
10   or any other applicable form of immunity. This shall not preclude any Party from moving
11   the Court for an order to disclose such material.
12   12.   MISCELLANEOUS
13         12.1 Discovery Rules Remain Unchanged. Nothing herein shall alter or change
14   in any way the discovery provisions of the FEDERAL RULES OF CIVIL
15   PROCEDURE, the Local Rules of Civil Practice and Procedure of the United States
16   District Court for the Central District of California, or the Court’s Scheduling Order.
17   Identification of any individual pursuant to this Order does not make that individual
18   available for deposition or any other form of discovery outside of the restrictions and
19   procedures of the FEDERAL RULES OF CIVIL PROCEDURE, the Local Rules of
20   Civil Practice and Procedure of the United States District Court for the Central District
21   of California, or the Court’s Scheduling Order. Nothing in this Order shall be construed
22   to require a party to produce or disclose information not otherwise required to be
23   produced under the applicable rules or orders of this Court.
24         12.2 Right to Further Relief. Nothing in this Order abridges the right of any
25   person to seek its modification by the Court in the future.
26         12.3 Right to Assert Other Objections. By stipulating to the entry of this
27   Protective Order, no Party waives any right it otherwise would have to object to
28   disclosing or producing any information or item on any ground not addressed in this


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 1   Stipulated Protective Order. Similarly, no Party waives any right to object on any ground
 2   to use in evidence of any of the material covered by this Protective Order. Nothing in
 3   this Order shall be deemed to bar or preclude any producing Party from seeking such
 4   additional protection, including, without limitation, an order that certain information
 5   may not be discovered at all.
 6         12.4 Filing Protected Material. Without written permission from the Designating
 7   Party or a court order secured after appropriate notice to all interested persons, a Party
 8   may not file in the public record in this Action any Protected Material. In order to file
 9   Protected Material, Parties must do one of the following: (1) with the consent of the
10   Designating Party, file only a redacted copy of the Protected Material; (2) where
11   appropriate (e.g., in connection with discovery and evidentiary motions) provide the
12   Protected Material solely for in camera review; or (3) file such Protected Material under
13   seal with the Court consistent with the sealing requirements set forth in Local Rule 79-
14   5. If the Party’s request to file Protected Material under seal is denied by the Court with
15   prejudice, then the Receiving Party may file the information in the public record unless
16   otherwise instructed by the Court.
17         If a Party files Protected Material without a motion to seal, the Designating Party
18   or any Party to this action may move that the Court place the designated materials under
19   seal. The Clerk of the Court is directed to comply with any such request until such time
20   as the motion is decided.
21         12.5 Entering into, producing and/or receiving CONFIDENTIAL information or
22   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY information or otherwise
23   complying with the terms of this Order shall not:
24         (a)    operate as an admission by any Party that any material designated as
25   CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
26   contains or reflects trade secrets or any other type of confidential or proprietary
27   information entitled to protection under applicable law;
28


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 1         (b)    prejudice in any way the rights of any Party to object to the production of
 2   documents, electronically stored information and things it considers not subject to
 3   discovery, or operate as an admission by any Party that the restrictions and procedures
 4   set forth herein constitute adequate protection for any particular information deemed by
 5   any Party to be CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’
 6   EYES ONLY information;
 7         (c)    prejudice in any way the rights of any Party to object to the authenticity or
 8   admissibility into evidence of any document, testimony or the evidence subject to this
 9   Order;
10         (d)    prejudice in any way the rights of any Party to seek a determination by the
11   Court whether any discovery material or designated material should be subject to the
12   terms of this Order;
13         (e)    prejudice in any way the rights of any Party to petition the Court for a
14   further protective order related to any purportedly CONFIDENTIAL or HIGHLY
15   CONFIDENTIAL – ATTORNEYS’ EYES ONLY information;
16         (f)    prejudice in any way the rights of any Party to petition the Court for
17   permission   to   disclose   or   use   particular   CONFIDENTIAL          or   HIGHLY
18   CONFIDENTIAL – ATTORNEYS’ EYES ONLY information more broadly than
19   would otherwise be permitted by the terms of this Order; or
20         (g)    prevent any Party from agreeing to alter or waive the provisions or
21   protections provided for herein with respect to any particular discovery material
22   designated as CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’
23   EYES ONLY information by that Party.
24   13.   FINAL DISPOSITION
25         Within 60 calendar days of termination of the Action, as defined in Section 4, each
26   Receiving Party must return all Protected Material to the Producing Party or destroy such
27   material. As used in this subdivision, “all Protected Material” includes all copies,
28   abstracts, compilations, summaries, and any other format reproducing or capturing any


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 1   of the Protected Material. Whether the Protected Material is returned or destroyed, the
 2   Receiving Party must submit a written certification to the Producing Party (and, if not
 3   the same person or entity, to the Designating Party) by the 60-day deadline that (1)
 4   identifies (by category, where appropriate) all Protected Material that was returned or
 5   destroyed and (2) affirms that the Receiving Party has not retained any copies, abstracts,
 6   compilations, summaries, or any other format reproducing or capturing any of the
 7   Protected Material.
 8         Notwithstanding this provision, Counsel are entitled to retain, for archival
 9   purposes, subject to the provisions of this Order, complete copies of, and copies of all
10   exhibits to, all transcripts, pleading papers filed with the Court, motions and any
11   responses and replies, expert reports, discovery requests and responses, correspondence,
12   and their own work product, and consultant and expert work product, even if such
13   materials contain Protected Material. Any such archival copies that contain or constitute
14   Protected Material remain subject to this Protective Order as set forth in Section 4.
15         To the extent a Party requests the return of Protected Material from the Court after
16   the termination of the Action, the Party shall file a motion seeking such relief.
17   13.   CROSS-USE IN CO-PENDING LITIGATIONS
18         Any materials that have been or will be produced by the Parties in connection with
19   this Action may be used in Pinkerton Tobacco Co., LP et al., v. The Art Factory AB et
20   al., 2:20-cv-1322-SB-MRW (C.D. Cal.) and Pinkerton Tobacco Co., LP et al., v. Kretek
21   International, Inc. et al., 2:20-cv-8729-SB-MRWx (C.D. Cal.) (collectively, “the co-
22   pending Kretek matters”).
23         Any Disclosure or Discovery Material that is designated as “CONFIDENTIAL”
24   or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” by any of the Parties
25   under this Order in this Action shall be afforded at least the same level of protection in
26   the co-pending Kretek matters. If there is any conflict in the protective orders in the co-
27   pending Kretek actions and the above-captioned action, the more restrictive protective
28   order provision(s) shall govern.


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 1   14.   VIOLATION
 2         Any willful violation of this Order may be punished by civil or criminal contempt
 3   proceedings, financial or evidentiary sanctions, reference to disciplinary authorities, or
 4   other appropriate action at the discretion of the Court.
 5

 6

 7   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 8

 9

10   Dated: October 12, 2021                 CLARK HILL LLP
11
                                             By: /s/ Donald L. Ridge
12                                                      Donald L. Ridge
13
                                             Attorneys for Defendants and Counterclaim
14                                           Plaintiffs Pinkerton Tobacco Co., LP, Swedish
15                                           Match North America LLC, and NYZ AB

16
17   Dated: October 12, 2021                 ONE LLP

18                                           By: /s/ John E. Lord (with permission)
19                                                      John E. Lord
20                                           Attorneys for Defendant and Counterclaim
21                                           Plaintiff Helix Innovations GmbH
22   Dated: October 12, 2021                 JONES DAY
23
                                             By: /s/ Nicole M. Smith (with permission)
24                                                       Nicole M. Smith
25
                                             Attorneys for Plaintiff and Counterclaim
26                                           Defendant Modoral Brands Inc.
27

28


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 1          SIGNATURE ATTESTATION PURSUANT TO L.R. 5-4.3.4(a)(2)(i)
 2         Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that the other
 3   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
 4   content and have authorized this filing.
 5   Dated: October 12, 2021                    CLARK HILL LLP
 6                                          By:               /s/
                                                        Donald L. Ridge
 7

 8
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 9

10
             October 13, 2021
     Dated: __________________              ____________________________________
11
                                            HONORABLE MICHAEL R. WILNER
12                                          United States Magistrate Judge
13
     Presented by:
14
             /s
15
     Donald L. Ridge
16
     Attorneys for Defendants and Counterclaim Plaintiffs
17   Pinkerton Tobacco Co., LP, Swedish Match North America LLC, and NYZ AB
18

19

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 1                                          EXHIBIT A
 2               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3

 4         I, _____________________________ [full name], of _________________ [full
 5   address], declare under penalty of perjury that I have read in its entirety and
 6   understand the Stipulated Protective Order that was issued by the United States District
 7   Court for the Central District of California on [date] in the case of ___________
 8   [insert case name and number]. I agree to comply with and to be bound by all the
 9   terms of this Stipulated Protective Order and I understand and acknowledge that failure
10   to so comply could expose me to sanctions and punishment in the nature of contempt. I
11   solemnly promise that I will not disclose in any manner any information or item that is
12   subject to this Stipulated Protective Order to any person or entity except in strict
13   compliance with the provisions of this Order.
14         I further agree to submit to the jurisdiction of the United States District Court for
15   the Central District of California for the purpose of enforcing the terms of this
16   Stipulated Protective Order, even if such enforcement proceedings occur after
17   termination of this action. I hereby appoint __________________________ [full
18   name] of _______________________________________ [full address and
19   telephone number] as my California agent for service of process in connection with
20   this action or any proceedings related to enforcement of this Stipulated Protective
21   Order.
22   Date: ______________________________________
23   City and State where signed: _________________________________
24

25   Printed name: _______________________________
26
27   Signature: __________________________________
28


                                                  28
